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Final for Jury

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ee x
US AIRWAYS, INC.,

Plaintiff,

-against- : 11 Civ. 2725 (LGS)

SABRE HOLDINGS CORP., et al., :

Defendants. :

--- x
VERDICT FORM

ALL JURORS MUST AGREE TO ALL ANSWERS

Monopolization Claim

d,

Has US Airways proved, by a preponderance of the evidence, that Sabre willfully
maintained monopoly power through exclusionary conduct in the relevant market?
Yes No

If you answered “Yes,” proceed to Question 2.
If you answered “No,” proceed to Question 3.

Has US Airways proved, by a preponderance of the evidence, that it was harmed as a
result of Sabre’s exclusionary conduct?

Yes — No

Proceed to Question 3.

Contract Restraints Claim

3. Has US Airways proved, by a preponderance of the evidence, that Sabre unreasonably

restrained trade in the relevant market by means of the challenged contract provisions in
the 2011 agreement between US Airways and Sabre?

Yes No __ —

Ifyou answered “Yes,” proceed to Question 4.
If you answered “No,” proceed to Question 5.
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4, Has US Airways proved, by a preponderance of the evidence, that it was harmed as a
result of Sabre’s unreasonable restraint of trade?

Yes No fo

Proceed to Question 5.

Damages

5. Answer only if you answered YES to question 2: Please state the amount that will fairly
compensate US Airways for any harm it sustained as a result of Sabre’s exclusionary
conduct between April 21, 2007, and October 30, 2012.

$ 1.00

6. Answer only if you answered YES to question 4: Please state the amount that will fairly
compensate US Airways for any harm it sustained as a result of Sabre’s unreasonable
restraint of trade between February 23, 2011, and October 30, 2012.

$ 9.00

7. Answer only if you answered questions 5 AND 6: Being mindful of not awarding
damages that result in double recovery for the same injury (double counting), what is the
total amount of damages, if any, US Airways is entitled to receive from Sabre in light of
your answers to the previous two questions?

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Each juror should place his or her signature on the lines below.
| attest that the foregoing accurately reflects the jury’s decision.

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Please state who is the foreperson: A ad ACM Hoy er He 2

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Final for Jury

You are finished. Please provide this completed form in a sealed envelope to the Court Security

Officer.
